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 Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
------------------------------------------------------------- x
                                                              :
LEGAL BAY LLC,                                                :
                                                              :
                                  Plaintiff,                  :
                                                              :        Case No. 2:22-cv-03941-ES-JBC
                    - against -                               :
                                                              :        Removed from the Superior Court
MUSTANG FUNDING, LLC, MUSTANG                                 :        of the State of New Jersey, Essex
SPECIALTY FUNDING I, LLC, MUSTANG                             :        County – Chancery Division, Docket
SPECIALTY FUNDING II, LLC, JAMES                              :        No. (ESX-C-000086-22)
BELTZ, and KEVIN CAVANAUGH,                                   :
                                                              :
                                    Defendants.               :
                                                              :
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                            STIPULATION AND ORDER

        Pursuant to Local Rule 6.1, the parties hereby submit this application to extend the time

for Defendants Mustang Funding, LLC, Mustang Specialty Funding I, LLC, Mustang Specialty
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Funding II, LLC, James Beltz, and Kevin Cavanaugh (each a “Defendant” and collectively the

“Defendants”) to answer, move, or otherwise respond to the complaint filed by Plaintiff

Legal Bay LLC (“Plaintiff”) in the above-captioned action;

       SUBJECT TO APPROVAL OF THIS COURT, IT IS HEREBY STIPULATED AND

AGREED by and between the undersigned as follows:

       1.      On May 16, 2022, Plaintiff filed the complaint against Defendants in the above-

referenced action, bearing Docket No. ESX-C-000086-22, in the Superior Court of New Jersey,

Essex County – Chancery Division.

       2.      On May 18, 2022, Plaintiff served Mustang Funding, LLC, James Beltz, and

Kevin Cavanaugh with a copy of the summons and complaint.

       3.      On May 19, 2022, Plaintiff served Mustang Specialty Funding I, LLC and

Mustang Specialty Funding II, LLC with copies of the summons and complaint.

       4.      On June 15, 2022, Mustang Funding, LLC filed a notice of removal to federal

court. The same day, Mustang Specialty Funding I, LLC, Mustang Specialty Funding II, LLC,

James Beltz, and Kevin Cavanaugh each filed a notice of consent to removal.

       5.      On June 17, 2022, Defendant Mustang Funding, LLC filed a corrected notice of

removal and a corrected declaration of Peter Mayer to correct the street addresses listed in both

filings for each Defendant, except Mr. Beltz, and Mustang Funding, LLC’s two members,

Highcroft Capital Partners, LLC and KCLRM, LLC. The same day, Mustang Specialty Funding

I, LLC, Mustang Specialty Funding II, LLC, James Beltz, and Kevin Cavanaugh each again filed

a notice of consent to removal.

       6.      The time for Defendants to answer, move, or otherwise respond to the complaint

currently is June 22, 2022.




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       7.      No prior extension of time to respond to the complaint has been sought.

       8.      The time for Defendants to answer, move, or otherwise respond to the complaint

shall be extended until July 22, 2022.



 Dated: June 21, 2022                              Dated: June 21, 2022


 /s/ Kieran T. Ensor                               /s/ Christian T. Becker
 Kieran T. Ensor                                   Christian T. Becker
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 Attorneys for Plaintiff




SO ORDERED:
 s/ James B. Clark, III
_________________________
Hon. James B. Clark, III. USMJ


  Dated: 6/22/2022




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